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 9                                IN THE UNITED STATES DISTRICT COURT

10                                  EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,                       )   CASE NO. 2:99-CR-00051 GEB
                                                     )
13                                Plaintiff,         )   [PROPOSED] ORDER DISMISSING
                                                     )   INDICTMENT AS TO DEFENDANT
14   v.                                              )   FRANCISCO CADENAS
                                                     )
15   REVERIANO OLIVERA, et al.,                      )
                                                     )
16                                Defendants.        )
                                                     )
17                                                   )

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19         For the reasons set forth in the motion to dismiss filed by the United States, the charges against

20   defendant FRANCISCO CADENAS in the pending Indictment, are hereby DISMISSED and any
     outstanding arrest warrant is recalled.
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22         Dated: September 26, 2013

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24                                                        GARLAND E. BURRELL, JR.
                                                          Senior United States District
25
                                                  Judge
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